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SCHERTLER ONORATO MEAD & SEARS

September 30, 2023

VIA ECF

Hon. Sidney H. Stein

United States District Judge
Southern District of New York
500 Pearl Street, Courtroom 23A
New York, NY 10007

Re: United States v. Robert Menendez et al., Case No. 1:23-cr-00490-SHS

Dear Judge Stein:

We write on behalf of our client, defendant Nadine Menendez, to request that Ms.
Menendez be excused from appearing personally at the status conference in this case that is
scheduled for Monday, October 2, 2023, at 2:30 p.m.

Federal Rule of Criminal Procedure 43(b)(3) provides that a “defendant need not be
present” if “[t]he proceeding involves only a conference or hearing on a question of law.” We
understand that the appearance on October 2, 2023, will address discovery issues and scheduling.
Ms. Menendez’ counsel will be present in the courtroom and is prepared to discuss any and all
issues. We understand that the Court has already granted requests filed by defendant Senator
Menendez in the above-referenced matter for an order waiving his appearance from the October
2, 2023 conference [Docket No. 34].

We have conferred with the government, and AUSA Eli Mark has informed us that the
government takes no position on this request.

Respectfully,

David Schertler “—
Danny Onorato
Counsel for Nadine Menendez

cc: All Counsel (via ECF)

ATTORNEYS AT LAW | 555 13TH STREET, NW 202.628.4199
SUITE 500 WEST 202.628.4177 FAX

WASHINGTON, DC 20004 WWWSSCHERTLERLAW.COM
